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      SO. CAL. EQUAL ACCESS GROUP
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 3
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      K. PHILLIP TAYLOR
 6
 7                              UNITED STATES DISTRICT COURT
 8                             CENTRAL DISTRICT OF CALIFORNIA
 9
      K. PHILLIP TAYLOR,                               Case No.: 5:25-cv-00488-ODW (DTBx)
10
11                Plaintiff,                           NOTICE OF VOLUNTARY
                                                       DISMISSAL OF ENTIRE ACTION
12          vs.                                        WITH PREJUDICE
13
      MARISA ARROYO D/B/A EL TIO
14    ALEX MEXICAN RESTAURANT;
15
      HAVENGATE BUSINESS CENTER
      TWO, A CALIFORNIA LIMITED
16    PARTNERSHIP; and DOES 1 to 10,
17                Defendants.
18
19
20          PLEASE TAKE NOTICE that Plaintiff K. PHILLIP TAYLOR (“Plaintiff”)
21    pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses
22    the entire action with prejudice pursuant to Federal Rule of Civil Procedure Rule 41(a)(1)
23    which provides in relevant part:
24          (a) Voluntary Dismissal.
25                (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
26                       and any applicable federal statute, the plaintiff may dismiss an action
27                       without a court order by filing:
28


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                     NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
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 1                       (i)   A notice of dismissal before the opposing party serves either an
 2                             answer or a motion for summary judgment.
 3    None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 4    summary judgment. Accordingly, this matter may be dismissed without an Order of the
 5    Court.
 6
 7    DATED: March 21, 2025                 SO. CAL. EQUAL ACCESS GROUP
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 9
10                                          By:      /s/ Jason J. Kim
                                                   Jason J. Kim, Esq.
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                                                   Attorneys for Plaintiff
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                    NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
